                                            Case 4:18-cv-02931-HSG Document 86 Filed 02/13/19 Page 1 of 3




                                   1

                                   2

                                   3

                                   4                                 UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7                                                        Case No. 18-cv-02931-HSG
                                   8       IN RE UBER TEXT MESSAGING                        ORDER GRANTING LEAVE TO FILE
                                                                                            SUR-REPLY; RESCHEDULING
                                   9                                                        HEARINGS
                                  10                                                        Re: Dkt. Nos. 56, 64
                                  11

                                  12            Pending before the Court are Defendant Uber Technologies, Inc.’s (“Uber”) motion to stay
Northern District of California
 United States District Court




                                  13   the action pending a decision on the motion to compel, see Dkt. No. 56, and motion to compel

                                  14   arbitration, see Dkt. No. 64 (“Mot.”).

                                  15       I.   BACKGROUND
                                  16            In their putative class action complaint, Plaintiffs Wanda Rogers and Christopher Ziers

                                  17   allege that Uber used an automatic telephone dialing system to send text messages without the

                                  18   recipient’s consent, in violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et

                                  19   seq. See Consolidated Class Action Complaint (“Compl.”), Dkt. No. 46. Uber, however,

                                  20   maintains that Ziers registered for an Uber account in June 2016, thereby agreeing to arbitrate

                                  21   these claims and waiving his right to bring a class action complaint. See Mot. at 1. Uber relied on

                                  22   the declarations of two of its employees to support its motion to compel arbitration. See Dkt. Nos.

                                  23   64-1, 64-2.1 Beyond the declarations and generic screenshots documenting the registration

                                  24   process and agreement, Uber did not originally supply any other evidence to support its contention

                                  25
                                       1
                                  26     When Ziers sought to depose one of those Uber employees, Uber moved for a protective order.
                                       See Dkt. No. 68. Magistrate Judge Corley denied that motion, finding that “Uber has failed to
                                  27   produce any evidence that shows Mr. Ziers agreed to arbitrate; instead, Uber is relying solely on
                                       the word of a witness whom Uber refuses to produce for deposition.” See Dkt. No. 84 at 3. Judge
                                  28   Corley ordered Uber to make that witness available for deposition on or before February 21. See
                                       id. at 1.
                                          Case 4:18-cv-02931-HSG Document 86 Filed 02/13/19 Page 2 of 3




                                   1   that Ziers registered for the service and agreed to be bound by Uber’s Terms and Conditions.

                                   2          In a sworn declaration attached to his opposition to the motion to compel, Ziers stated that

                                   3   he did “not recall ever completing the Uber registration process,” that he did not receive a

                                   4   welcome email from Uber, that he did not believe he provided his credit card information to Uber,

                                   5   and that the Android phone he owned in 2016 was incapable of downloading third-party

                                   6   applications. See Declaration of Christopher Ziers, Dkt. No. 71-3 ¶¶ 2, 8, 10, 11.

                                   7          Then, in its reply brief, Uber “voluntarily produced information from its records that

                                   8   supports [its employee’s] declaration.” See Reply, Dkt. No. 82 at 7. Though Uber believed

                                   9   production of these records was “unnecessary,” it decided to provide them in its reply (but no

                                  10   earlier) in “an effort to efficiently resolve this issue.” Id. Unsurprisingly, in Uber’s view, these

                                  11   newly disclosed documents “confirm that Mr. Ziers entered into a binding arbitration agreement

                                  12   with Uber.” Id. at 8.
Northern District of California
 United States District Court




                                  13          In response to these never-before-seen documents making their first appearance in Uber’s

                                  14   reply brief, Plaintiffs filed an objection under Civil Local Rule 7-3(d)(1). See Dkt. No. 85.

                                  15    II.   LEGAL STANDARD
                                  16          Under Civil Local Rule 7-3(d)(1), “[i]f new evidence has been submitted in the reply, the

                                  17   opposing party may file within 7 days after the reply is filed, and serve an Objection to Reply

                                  18   Evidence, which may not exceed 5 pages of text, stating its objections to the new evidence, which

                                  19   may not include further argument on the motion.” The Local Rules thus “recognize the potential

                                  20   inequities that might flow from the injection of new matter at the last round of briefing.” Dutta v.

                                  21   State Farm Mut. Auto. Ins. Co., 895 F.3d 1166, 1171–72 (9th Cir. 2018). However, the

                                  22   “unfairness inherent” in being unable to respond to new factual material may be mitigated by

                                  23   “granting the objecting party leave to file a sur-reply opposition to the new matter.” Id. at 1172.

                                  24   III.   ANALYSIS
                                  25          Because Uber inexplicably produced these records only after Ziers filed his opposition,

                                  26   Ziers has not had an opportunity to explain how they may affect his argument that he is not subject

                                  27   to Uber’s Terms and Conditions, including mandatory arbitration and a class action waiver. To

                                  28   avoid the unfairness inherent in this eleventh-hour revelation of what appears to be consequential
                                                                                          2
                                          Case 4:18-cv-02931-HSG Document 86 Filed 02/13/19 Page 3 of 3




                                   1   new information, the Court will give Plaintiffs an opportunity to respond. See Dutta, 895 F.3d at

                                   2   1172. Accordingly, Plaintiffs may file a sur-reply, explaining their position on how the Court

                                   3   should assess the information Uber divulged in its reply and how it affects their assertion that

                                   4   Ziers did not complete the Uber registration process and thus never agreed to arbitrate his claims.

                                   5   IV.    CONCLUSION
                                   6           Plaintiffs are GRANTED LEAVE to file a sur-reply of no more than 10 pages by

                                   7   February 27, 2019. The hearings scheduled for February 14 on Uber’s motion to compel

                                   8   arbitration, Dkt. No. 64, and motion to stay, Dkt. No. 56, are VACATED and are

                                   9   RESCHEDULED for March 14, 2019 at 1:00 p.m.

                                  10          IT IS SO ORDERED.

                                  11   Dated: 2/13/2019

                                  12                                                    ______________________________________
Northern District of California
 United States District Court




                                                                                        HAYWOOD S. GILLIAM, JR.
                                  13                                                    United States District Judge
                                  14

                                  15

                                  16

                                  17

                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                         3
